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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

 The State of Texas, et al.,

                        Plaintiffs,                  Case No. 4:20-cv-00957-SDJ

 v.                                                  Hon. Sean D. Jordan

 Google LLC,
                                                     Special Master: David T. Moran
                        Defendants.


      UNOPPOSED MOTION FOR LEAVE TO FILE UNDER SEAL AND TO EXTEND
                TIME LIMIT UNDER LOCAL RULE CV-5(a)(7)(E)

        Plaintiff States respectfully move the Court for leave to file under seal Plaintiff States’

Response to Google LLC’s Motion for Summary Judgment on Plaintiffs’ Antitrust Claims.

Plaintiff States will file this document today. Defendant Google LLC (“Google”) does not oppose

this motion.

        Because Plaintiff States’ filing is voluminous and contains information subject to Google’s

claims of confidentiality pursuant to the Confidentiality Order, Dkt. 182, Plaintiff States seek

permission to file under seal in the first instance and to extend the time limit under Local Rule CV-

5(a)(7)(E) for Google to submit redacted versions from seven to 21 days.

        Google sought to file its Motions for Summary Judgment, Motion to Exclude, and

accompanying documents under seal in the first instance, and sought to extend the time limit for

filing redacted versions of these documents from seven to 21 days. Dkts. 665, 666, 670. The Court

granted that relief, Dkt. 685, and should implement the same process with respect to Plaintiff

States’ responsive filings. See Carranza v. Shelton & Valadez, P.C., No. SA-22-CV-00025-ESC,

2023 WL 3260544, at *1 (W.D. Tex. May 4, 2023) (discussing court’s inherent power to manage

its docket).

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       The Court should therefore grant Plaintiff States’ unopposed motion to seal the above

document and to extend the limit for filing a redacted version under Local Rule CV-5(a)(7)(E)

from seven to 21 days.

 DATED: December 9, 2024                           Respectfully submitted,

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                            CERTIFICATION OF CONFERENCE

       I certify that counsel has complied with the meet and confer requirement in Local Rule

CV-7(h) and that Google LLC does not oppose the foregoing sealing request.

                                                  /s/Kiran N. Bhat
                                                  Kiran N. Bhat




                               CERTIFICATE OF SERVICE

       I certify that on December 9, 2024, this document was filed electronically in compliance

with Local Rule CV-5(a) and served on all counsel who have consented to electronic service, per

Local Rule CV-5(a)(3)(A).

                                                  /s/ Kiran N. Bhat
                                                  Kiran N. Bhat




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